Dear Honorable Johnston,
The Attorney General is in receipt of your request for an opinion wherein you ask the following question:
Does the Interlocal Cooperation Act, 74 O.S. 1001[74-1001] et seq.,(1971) permit an interlocal agreement between an independent schooldistrict and city government in the construction of improvements uponpark land owned by the city?
The Interlocal Cooperation Act provides at 74 O.S. 1004 (1971), that the following interlocal agreements are authorized:
74 O.S. 1004. Agreements Authorized —
  (a) any power or powers, privileges or authority exercised or capable of exercise by a public agency of this State may be exercised and enjoyed jointly with any other public agency of this State, and jointly with any public agency of any other state or of the United States to the extent that laws of such other state or of the United States permits such joint exercise or enjoyment. Any agency of the State government when acting jointly with any public agency may exercise and enjoy all of the powers, privileges and authority conferred by this act upon a public agency.
For the purposes of your questions it is necessary to determine if independent school districts are public agencies as contemplated by the Act. At 74 O.S. 1003 public agency is defined as follows:
74 O.S. 1003. Definitions.
  (a) for the purposes of this Act, the term "public agency" shall mean any political subdivision of this State; or of the United States and any political subdivision of any other state.
Oklahoma Attorney General's Opinion No. 71-372, further defined the term "public agency" to include public school districts, area school districts for vocational and/or technical schools, state colleges and universities, and trust created under statutes relating to trust for furtherance of public functions. Independent school districts are public school districts and obviously included within the above interpretation and therefore authorized to participate in interlocal agreements within the overall legislative purpose behind the Interlocal Cooperation Act contained within 74 O.S. 1001 (1971).
While the Attorney General reserves "the right to review any pro posed interlocal cooperative agreement as required by 74 O.S. 1006 (1971), such agreements are authorized provided each "public agency" involved has statutory authority to perform the desired tasks independent of the other.
It is, therefore, the opinion of the Attorney General that theInter-local Cooperation Act permits agreements between independent schooldistricts and city governments when the purpose behind such an agreementis to further the efficient use of the respective power enjoyed by eachpublic agency.
JAN ERIC CARTWRIGHT, ATTORNEY GENERAL OF OKLAHOMA
JOHNNY J. AKINS, ASSISTANT ATTORNEY GENERAL